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                                                                           Tuesday, 10 March, 2020 02:46:51 PM
                                                                                  Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS

 JOHN SHUNICK,                                       §
      Plaintiff,                                     §    CIVIL ACTION NO.
                                                     §
                                                     §
 VERSUS                                              §    JUDGE
                                                     §
                                                     §    MAGISTRATE JUDGE
 WOOD GROUP MUSTANG, INC,                            §
     Defendant.                                      §    JURY TRIAL DEMANDED

                                      NOTICE OF REMOVAL


        NOW INTO COURT, through undersigned counsel, comes Defendant Wood Group

Mustang, Inc. (hereinafter referred to as “Defendant”), and without waiving any of its defenses or

objections, removes to this Court the Complaint filed on behalf of Plaintiff John Shunick entitled

John Shunick v. Wood Group Mustang, Inc., Case No. 2019L150, pending in the 14th Judicial

Circuit Court, County of Rock Island, Illinois. As the basis for removal, Defendant represents that:

                                                    1.

        On August 27, 2019, a Complaint entitled John Shunick v. Wood Group Mustang, Inc., Case

No. 2019L150, was filed on behalf of Plaintiff John Shunick, individually, in the 14th Judicial

Circuit Court, County of Rock Island, Illinois, which is within the Central District of Illinois. Venue

is proper in the Central District of Illinois because the civil district court action is pending within the

jurisdictional confines of this District. See 28 U.S.C. §§ 1391(b) and 1441(a). A true and correct

copy of the Complaint is attached hereto behind Exhibit A.

                                                    2.

        Defendant was served with the Complaint on February 13, 2020. Attached is the declaration

of Ingrid H. Menasco attesting to Defendant’s registered agent as United Agent Group Inc. Attached


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is the declaration of Laurette Bruder attesting to the receipt of the summons of the state court suit on

February 13, 2020, by process server. Pursuant to 28 U.S.C. §1446(b), this Notice of Removal is

timely filed within thirty (30) days of the date Defendant first received the Complaint.

                                                   3.

        In his Complaint, Plaintiff asserts a claim for violation of the Fair Labor Standards Act, 29

U.S.C. § 206, et seq. See Complaint, para. 1, pg. 1; no. para. 9, pg. 2; no. para. 11, pg. 3. The

United States District Court therefore has original jurisdiction over this action. In this regard, 28

U.S.C. §1331 states: “The district courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws, or treaties of the United States.” Inasmuch as Plaintiff is alleging a

violation of the FLSA, this case presents a federal question and is properly removed. Thus, the

Court has original jurisdiction over the action under 28 U.S.C. §1331 and this action is removable

pursuant to 28 U.S.C. §§1441 and 1446.

                                                   4.

        In his Complaint, Plaintiff further avers that he is domiciled in the County of Mercer, State of

Illinois. He avers he performed services for Defendant in Rock Island County, Illinois. Plaintiff

further avers that Defendant is a foreign corporation doing business in Illinois, with its principal

place of business in Houston, Texas. See Complaint, para. 1-5, pg 1-2.

                                                   5.

        Pursuant to 28 U.S.C. '1446(a), a copy of all pleadings and orders in the state court record,

which includes all process, pleadings, and orders served upon Defendant, are attached hereto behind

Exhibit A. These documents constitute all process, pleadings, and orders served upon Defendant in

this case at the time of the filing of this removal.




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                                                 6.

       This Court may exercise supplemental jurisdiction over Plaintiff’s state law claim pursuant to

28 U.S.C. § 1367, should any be asserted.

                                                 7.

       Promptly after this notice of removal is filed, written notice thereof will be given to all

adverse parties and a copy of this Notice of Removal will be filed with the clerk of the aforesaid

state court to effect the removal of this civil action to this Honorable Court as provided by law.

                                                 8.

       This Notice of Removal is executed pursuant to Federal Rule of Civil Procedure 11.

       WHEREFORE, Defendant prays that this Notice of Removal be accepted as good and

sufficient, that the aforesaid Complaint be removed from the state court to this Honorable Court for

trial and determination as provided by law, and that this Court enter such orders and issue such

process as may be proper to bring before it copies of all records and proceedings in said civil action

from said state court, and thereupon proceed with this civil action as if it had originally been

commenced in this Court.


Dated: March 10, 2020                                 Respectfully submitted,

                                                       /s/ Joseph R. Ward, III
                                                      JOSEPH R. WARD, III
                                                      Virginia Bar No. 88587
                                                      THE KULLMAN FIRM APLC
                                                      9800 Mount Pyramid Court, Ste 400
                                                      Englewood, CO 80112
                                                      Telephone: (720) 447-6628
                                                      E-mail: JRW@kullmanlaw.com

                                                      COUNSEL FOR DEFENDANT,
                                                      WOOD GROUP MUSTANG, INC.




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 10th day of March, 2020, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system and sent a copy of this document to
the following counsel by email and facsimile:

        Dorothy A. O’Brien
        Kelsey A. W. Marquard
        O’BRIEN & MARQUARD, PLC
        dao@emprights.com
        Counsel for Plaintiff
                                                          /s/ Joseph R. Ward, III
                                                          JOSEPH R. WARD, III




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                               EXHIBIT A



1.   Civil Cover Sheet

2.   Service of Process

3.   Plaintiff’s Complaint

4.   Order of Assignment and Conference




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